
644 S.E.2d 559 (2007)
STATE of North Carolina
v.
Bryant Jerome RIVERS.
No. 569P06.
Supreme Court of North Carolina.
March 8, 2007.
Bryant Jerome Rivers, Pro Se.
Robert K. Smith, Assistant Attorney General, Ben David, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 1st day of November 2006 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
